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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

STEVEN VANCE and TIM JANECYK, for
themselves and others similarly situated,

                    Plaintiffs,
                                               Case No. 1:20-cv-00577
v.
                                               Hon. Charles P. Kocoras
INTERNATIONAL BUSINESS
MACHINES CORPORATION, a New York               Magistrate Judge Gabriel A. Fuentes
Corporation,

                    Defendant.


     DEFENDANT IBM’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
          PLAINTIFFS’ SECOND AMENDED CLASS ACTION COMPLAINT
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                                 PRELIMINARY STATEMENT

       If Flickr (a California company) had conducted facial scans of its Illinois users’ photos,

and Plaintiffs had sued Flickr, perhaps the extraterritoriality doctrine and the dormant Commerce

Clause would not bar their claims. That is the factual scenario in every case Plaintiffs cite that

allowed BIPA claims against an out-of-state defendant to proceed past the motion to dismiss stage.

But Plaintiffs have sued IBM, not Flickr, and their Second Amended Complaint (“SAC”) does not

allege that IBM engaged in a single relevant act in Illinois. The best Plaintiffs can do is allege that,

after (1) Plaintiffs and other Illinois Flickr users posted their photos online, and (2) Yahoo

compiled those photos in a publicly available online database, researchers at IBM—a New York

corporation headquartered in Armonk, New York, SAC ¶¶ 4, 13—downloaded and analyzed the

faces in some of those photos. Downloading and analyzing photos from the Internet, however,

does not amount to conduct in Illinois—even if Illinois residents appear in the photos.

       Because Plaintiffs do not allege a factual basis for inferring that IBM engaged in any

relevant conduct in Illinois, application of BIPA to IBM’s out-of-state conduct would violate: (1)

Illinois’ extraterritoriality doctrine, which limits BIPA’s application only to conduct that occurs

“primarily and substantially in Illinois,” Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d 801,

854 (Ill. 2005); and (2) the dormant Commerce Clause, which proscribes application of state

statutes in such a manner that “the practical effect of the regulation [would be] to control conduct

beyond the boundaries of the State,” Healy v. Beer Institute, Inc., 491 U.S. 324, 336 (1989).

Plaintiffs’ contention that it is “premature” to dismiss their BIPA claims because “every court to

address the issue has found that neither the Illinois extraterritoriality doctrine nor federal

constitutional law puts [IBM’s] conduct outside of BIPA’s reach” (Opp. 1), is incorrect and not

supported by the cases Plaintiffs cite because each of those cases involved allegations of

substantial conduct by the defendant in Illinois. Such allegations are noticeably absent here.


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       Plaintiffs’ BIPA claims should also be dismissed because BIPA does not apply to scans of

photos of faces. The statute’s plain language expressly excepts both photos and information

derived from photos. IBM acknowledges that courts in this district have held otherwise, but

respectfully contends that the decisions on this issue were wrongly decided.

       Plaintiffs’ related unjust enrichment and injunctive relief claims should also be dismissed

for the reasons explained infra in section II.

                                           ARGUMENT

I.     PLAINTIFFS’ BIPA CLAIMS SHOULD BE DISMISSED

       A.      Plaintiffs’ BIPA Claims Are Barred By The Extraterritoriality Doctrine

               1.      The SAC Does Not Allege Facts Sufficient To Establish That IBM’s
                       Conduct Occurred “Primarily And Substantially” In Illinois

       The SAC does not contain sufficient allegations that, taken as true, would provide a basis

for holding IBM liable under Illinois law. As IBM explained in its opening brief, “[a]lthough

Plaintiffs and the putative class members allegedly are Illinois residents, they do not allege that

they uploaded photos to IBM servers, used IBM software, services, or technology, or that they

ever had any communications or interactions with IBM,” “[n]or do Plaintiffs allege that any of

IBM’s actions in violation of BIPA … was conducted in Illinois.” Dkt. No. 36, at 7. Plaintiffs

nevertheless contend that their failure to allege any conduct by IBM in Illinois is irrelevant because

four other purported “factors … weigh in favor of finding that the relevant circumstances in this

case occurred in Illinois.” Opp. 7. None of Plaintiffs’ purported “factors,” alone or in combination,

establishes the requisite nexus between the conduct complained of and Illinois.

       First, Plaintiffs contend that “the Complaint alleges that Plaintiffs resided in Illinois.” Opp.

7. But as IBM demonstrated in its opening brief: “BIPA … does not purport to protect Illinois

residents from conduct that occurs outside of Illinois’ borders.” Dkt. No. 36, at 10. The statute



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“applies only to conduct that occurs ‘primarily and substantially’ in Illinois.” Id.; see also Avery,

835 N.E.2d at 854; Rivera v. Google, Inc., 238 F. Supp. 3d 1088, 1104 (N.D. Ill. Sept. 15, 2017)

(BIPA “was not intended to and does not have extraterritorial application” and, accordingly, the

Illinois-resident plaintiffs’ “asserted [BIPA] violations … must have taken place in Illinois for

them to win”) (emphasis added). Plaintiffs’ Illinois residency alone is plainly insufficient.

       Second, Plaintiffs contend that IBM’s alleged “‘failure to disclose’ [in accordance with

BIPA] occurred in Illinois” because that is where they reside and allegedly were entitled to receive

notice. Opp. 7. This argument rests on circular and faulty logic. Plaintiffs essentially contend

that the Court should find that BIPA applies to IBM’s out-of-state conduct because IBM did not

comply with BIPA. That puts the cart before the horse. Plaintiffs must first allege a sufficient

nexus between IBM’s out-of-state conduct and Illinois before they can argue that IBM “failed” to

comply with BIPA “in Illinois.”

       Plaintiffs’ reliance on Avery for the proposition that “the ‘failure to disclose’ information

occurs in the location where the person would have received the information” (Opp. 7-8), is

misplaced. In Avery, the Illinois defendant sent a document containing an allegedly fraudulent

omission directly to the non-Illinois resident class members. 835 N.E.2d at 854. The court held

that the fact that the non-Illinois resident class members “received” that communication outside of

Illinois was relevant to its decision not to apply the Illinois Consumer Fraud and Deceptive

Business Practices Act (“ICFA”) extraterritoriality to the non-resident class members’ claims. Id.

       Here, by contrast, Plaintiffs do not allege that they “received” a deficient BIPA notice (or

any other communication) from IBM while they were residing in Illinois—they do not allege that

IBM communicated or interacted with them at all. Accordingly, Avery does not support Plaintiffs’




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argument that IBM’s alleged “failure” to act in Illinois establishes that its conduct occurred

“primarily and substantially in Illinois.”

       Third, Plaintiffs contend that the photos were “uploaded from Illinois and/or managed from

their Illinois-based user accounts, computers, and mobile devices.” Opp. 8. Even if this argument

were fully supported by the allegations in the SAC—and it is not1—Plaintiffs and the putative

class members allegedly uploaded their photos to Flickr, not to IBM, using “Illinois-based [Flickr]

user accounts.” Opp. 8. IBM is several steps removed from Plaintiffs’ interactions with Flickr,

having allegedly obtained the photos only after (1) Plaintiffs posted the photos on Flickr’s website,

and (2) Yahoo collected the photos from Flickr and compiled them in a publicly available online

database. SAC ¶ 40. Accordingly, Plaintiffs’ Illinois-based interactions with Flickr cannot

establish that IBM’s conduct occurred “primarily and substantially in Illinois.”

       Fourth, Plaintiffs contend that their “injuries occurred in Illinois” when IBM allegedly

“fail[ed] to comply with BIPA’s notice and consent provisions.” Opp. 8. Plaintiffs can be said to

be “injured,” however, only to the extent that BIPA applies to IBM’s out-of-state conduct; if it

does not, Plaintiffs were not entitled to notice and consent and therefore they have not been

“injured” (in Illinois, or anywhere else). Thus, on the threshold question of whether BIPA applies

to IBM’s out-of-state conduct, Plaintiffs simply assume it does in order to postulate an “injury”

that allegedly occurred in Illinois, where they reside. Again, Plaintiffs put the cart before the horse.

       In sum, all of the “factors” that Plaintiffs claim weigh in favor of extending BIPA to IBM’s

out-of-state conduct are extrapolated from their Illinois residence—Plaintiffs contend that they

were entitled to receive notice and provide consent in Illinois because that is where they reside,


1
  The SAC does not allege that the putative class members “uploaded” their photos from Illinois—
nor even that Janecyk did. The proposed class purports to cover “[a]ll Illinois residents whose
faces appear in the IBM Dataset,” regardless of where the photos were uploaded. SAC ¶ 58.


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and they were “injured” in Illinois, where they reside, when IBM allegedly failed to provide the

purportedly required notice here. Opp. 7-9. The best Plaintiff can come up with to establish that

IBM did anything relevant in Illinois is to argue that IBM failed to do something allegedly required

by Illinois law. As explained further in the next section, Plaintiffs cite no case holding that a

defendant’s mere failure to act in Illinois is sufficient to establish that the defendant’s conduct

occurred “primarily and substantially in Illinois.”

               2.      Courts Hold That The Extraterritoriality Inquiry Is “Fact-Bound”
                       Only Where, Unlike Here, The Complaint Alleges That The Defendant
                       Engaged In Substantial Conduct In Illinois

       Plaintiffs erroneously contend that courts have “emphasize[d] the highly fact-bound nature

of the extraterritoriality inquiry,” and “held that dismissal of a complaint on extraterritoriality

grounds is inappropriate at the Rule 12(b)(6) stage except in extraordinary circumstances.” Opp.

5. None of the cases Plaintiffs cite has articulated such a standard; to the contrary, the cases

confirm that the extraterritoriality doctrine requires allegations of a substantial nexus between the

defendant’s conduct and Illinois—allegations that are not present here.

       Plaintiffs’ reliance on Avery (Opp. 5-6) is particularly misguided.                 In Avery,

notwithstanding the fact that the defendant, State Farm Insurance, was “headquartered” in Illinois

and allegedly perpetrated the scheme to defraud both Illinois and non-Illinois-resident customers

alike through a policy allegedly devised at its Illinois headquarters, the Illinois Supreme Court held

that ICFA could not be applied extraterritorially to claims asserted by out-of-state plaintiffs (such

as Avery, a Louisiana resident) because their “contact with State Farm was through a Louisiana

agent, a Louisiana claims representative, and a Louisiana adjuster.” 835 N.E.2d at 839, 854. Avery

thus demonstrates the Illinois Supreme Court’s reluctance to apply Illinois statutes

extraterritorially where the conduct complained of occurred “primarily and substantially” outside

of Illinois and connected to Illinois only through intermediary channels. Id.


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        Plaintiffs’ reliance (Opp. 5-6) on Morrison v. YTB Intern., Inc., 649 F.3d 533 (7th Cir.

2011), is similarly misplaced. Indeed, Morrison provides a striking point of contrast to the sheer

lack of allegations connecting IBM’s conduct and Illinois here. Similar to Avery, the plaintiff class

in Morrison consisted of both Illinois and non-Illinois residents asserting ICFA claims against

YTB International, “a firm based in Illinois.” Id. at 534 (emphasis added). As in Avery, the

question in Morrison was whether ICFA could be applied to the claims of the non-Illinois-resident

class members. In holding that “the complaint does not defeat application of Illinois law” to the

non-resident class members’ claims, the court noted that:

        The[] complaint alleges that [plaintiffs] dealt directly with YTB, which does
        business in Illinois, and that all of the travel-agency deals were executed in
        Illinois—or at least “accepted” by YTB in Illinois after being placed over the
        Internet. YTB required every plaintiff to sign a contract that provides for litigation
        in Illinois under Illinois law…. Plaintiffs also allege that their payments were sent
        to YTB in Illinois, and that any payments from YTB when they secured other agents
        (a vital part of a pyramid scheme) came from Illinois. They assert that any
        complaints had to be sent to YTB in Illinois and were resolved by it in Illinois.
        Unlike State Farm [in Avery], YTB does not have offices or representatives in other
        states; the only way to deal with YTB is through its headquarters in Illinois. YTB
        also conducted training sessions, regional meetings, and “red carpet days” for
        members of the plaintiff class in Illinois.

Id. at 537-38 (first emphasis in original; subsequent emphases added). The contrast between the

complaint in Morrison and the SAC here could not be more stark.

        Nor does Bryant v. Compass Group USA, Inc., 2020 WL 2121463 (7th Cir. May 5, 2020)

(Opp. 8-9), support Plaintiffs’ argument. In Bryant, the plaintiff “worked for a call center in

Illinois” and alleged that the finger-scan-operated vending machines installed in the Illinois call

center’s cafeteria violated BIPA. Id. at *1 (emphasis added). The sole question before the court

was “whether, for federal-court purposes, such a person has suffered the kind of injury-in-fact that

supports Article III standing.” Id. In holding that such standing exists, the court did not address

the extraterritoriality doctrine or any other issues relevant to this case.



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        The only cases that Plaintiffs cite (Opp. 5) concerning the extraterritorial application of

BIPA are the cases that IBM cited in its opening brief as points of contrast with this case on the

extraterritoriality and dormant Commerce Clause issues—i.e., Rivera v. Google, Inc., 238 F. Supp.

3d 1088 (N.D. Ill. 2017), Monroy v. Shutterfly, Inc., 2017 WL 4099846 (N.D. Ill. Sept. 15, 2017),

and Patel v. Facebook, Inc., 932 F.3d 1264 (9th Cir. 2019). See Dkt No. 36, at 10-11 & n.8. As

IBM explained: “in each case, the photo was allegedly uploaded to the defendants’ systems from

a computer or device located in Illinois” and each defendant allegedly “engaged in some BIPA-

relevant interaction with Illinois-based users of its services. Here, by contrast, Plaintiffs are Flickr

users, not IBM users, and Plaintiffs do not allege that they ever interacted with IBM (in Illinois, or

anywhere else).” Id. at 11.

        Plaintiffs’ only response to this critical distinction is to argue—erroneously—that “[IBM]

seemingly contends that its lack of a business relationship with Plaintiffs and Class Members

somehow means it can violate their BIPA rights with impunity.” Opp. 11. But it is not the lack

of a “business relationship” that is important; it is the fact that IBM is not alleged to have interacted

with Plaintiffs at all. Unlike IBM here, Google, Shutterfly, and Facebook made their photo-

sharing products and services available in Illinois, recruited Illinois users of those products and

services, and directly interacted with the users whose faces the defendants scanned.                The

defendants could reasonably expect that their conduct vis-à-vis their own Illinois users would be

governed by Illinois law, including BIPA. IBM, by contrast, obtained Plaintiffs’ photos not

through Illinois contacts but by downloading the photos from a database that Yahoo made publicly

available online. None of Plaintiffs’ cases supports extending BIPA to IBM’s out-of-state conduct

under these circumstances.




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        Nor is there any merit to Plaintiffs’ argument that BIPA should be extended to IBM’s out-

of-state conduct because IBM theoretically could have “contacted the [Flickr] account holders”

given that, allegedly, “[t]he Flickr data provided to [IBM] … connected back to the originating

Flickr accounts.” Opp. 10. Because Plaintiffs do not allege that IBM’s conduct occurred

“primarily and substantially in Illinois,” BIPA does not apply and therefore IBM was not obligated

to engage in the detective work that Plaintiffs propose. Moreover, Plaintiffs purport to represent

a class of “Illinois residents whose faces appear in the IBM Dataset,” SAC ¶ 58 (emphasis added),

which class does not neatly overlap with the Flickr “account holders” who took and/or posted the

photos online, and whose faces may not appear in the photos. Given Plaintiffs do not allege that

the posted images included the names or any other contact information of the individuals who

appear in the images, there is no basis for inferring that IBM could have identified the putative

class members or their residence even if it were obligated to do so under Illinois law (which it was

not).

        As Plaintiffs would have it, no entity, no matter where in the world it is located, may

perform facial scans of publicly available online photos unless it first (1) confirms that the

individuals in the photos are not Illinois residents, or (2) somehow identifies the Illinois residents

and complies with BIPA’s notice and consent requirements. That is an impossible standard that,

if adopted, would extend BIPA’s reach well beyond Illinois’s borders to everywhere the Internet

is available—including to states like New York that have affirmatively decided not to regulate the

conduct at issue, see Dkt No. 36, at 12-13—in violation of the “long-standing rule of construction

in Illinois which holds that a ‘statute is without extraterritorial effect unless a clear intent in this

respect appears from the express provisions of the statute.” Avery, 835 N.E.2d at 852. BIPA




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indicates no such intent and therefore the Court should not extend BIPA in the manner Plaintiffs

propose.

        B.     Plaintiffs’ BIPA Claims Are Barred By The Dormant Commerce Clause

        Plaintiffs argue that their BIPA claims cannot be dismissed under the dormant Commerce

Clause because it purportedly is “premature” for the Court to determine whether IBM’s alleged

conduct in violation of BIPA occurred “‘wholly’ outside of Illinois.” Opp. 14. But it not premature

because, as demonstrated above, Plaintiffs do not allege that IBM engaged in a single relevant act

in Illinois.

        Unlike the cases on which Plaintiffs rely (Opp. 13-14), here, there is no need for discovery

to evaluate how much or which aspects of IBM’s conduct occurred within Illinois as opposed to

out-of-state. 2 Plaintiffs do not allege that IBM engaged in any conduct in Illinois. The best

Plaintiffs can do is allege that IBM obtained and scanned their photos after (1) they posted the

photos online at Flickr.com, and (2) Yahoo compiled the Flickr photos (from Flickr users around

the world) in a publicly available online database. But downloading photos of Illinois residents

from the Internet does not amount to conduct in Illinois. On the facts alleged, applying BIPA to

IBM’s out-of-state conduct would violate the dormant Commerce Clause.


2
  In In re Facebook Biometric Info. Privacy Litig., for example, the court rejected Facebook’s
extraterritoriality and dormant Commerce Clause arguments where Facebook made its social
media website available to Illinois users and “[t]his lawsuit is under an Illinois state statute on
behalf of Illinois residents who used Facebook in Illinois.” 2018 WL 2197546, at *4 (N.D. Cal.
May 14, 2018) (emphasis added). Similarly, in Rivera, the plaintiffs alleged that Google sold the
Google Droid device on which the photos of plaintiffs’ faces were taken “in Illinois,” and those
devices “automatically uploaded” the photos “to Google Photos,” a service which Google offered
to Illinois residents and which scanned the photos. 238 F. Supp. 3d at 1091 (emphasis added).
And Monroy involved facial scans conducted by Shutterfly on “a photograph uploaded to
Shutterfly’s website from within the state of Illinois.” 2017 WL 4099846, at *2 (emphasis added).
Thus, unlike IBM here, in each case Plaintiffs cite, the defendant made relevant products and
services available in Illinois and directly interacted with Illinois users of those products and
services.


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       The Supreme Court’s decision in Healy v. Beer Institute, Inc. lays out the constitutional

parameters against which Plaintiffs’ claims must be tested:

       Taken together, our cases concerning the extraterritorial effects of state economic
       regulation stand at a minimum for the following propositions: First, the Commerce
       Clause ... precludes the application of a state statute to commerce that takes place
       wholly outside of the State’s borders, whether or not the commerce has effects
       within the State …. Second, a statute that directly controls commerce occurring
       wholly outside the boundaries of a State exceeds the inherent limits of the enacting
       State’s authority and is invalid regardless of whether the statute’s extraterritorial
       reach was intended by the legislature. The critical inquiry is whether the practical
       effect of the regulation is to control conduct beyond the boundaries of the State….
       Third, the practical effect of the statute must be evaluated not only by considering
       the consequences of the statute itself, but also by considering how the challenged
       statute may interact with the legitimate regulatory regimes of other States and what
       effect would arise if not one, but many or every, State adopted similar legislation.
       Generally speaking, the Commerce Clause protects against inconsistent legislation
       arising from the projection of one state regulatory regime into the jurisdiction of
       another State…. And, specifically, the Commerce Clause dictates that no State may
       force an out-of-state merchant to seek regulatory approval in one State before
       undertaking a transaction in another.

491 U.S. 324, 336-37 (1989) (emphasis added; quotation marks and internal citations omitted).

       Plaintiffs’ claims would violate every one of these constitutional strictures. Indeed,

Plaintiffs are not shy about what they believe is required of out-of-state entities and institutions

performing facial recognition research on publicly available online photos—according to Plaintiffs,

such out-of-state entities must “undertake an[] effort to determine [] whether [they] are performing

facial geometric scans on the photographs of Illinois residents.” Opp. 15. Even if this were

possible—and the SAC does not contain any allegations from which such a possibility might be

inferred, given that Plaintiffs do not allege the photos at issue contained the residency or contact

information of the individuals in the photos—there can be no genuine dispute that interpreting

BIPA to require out-of-state companies to “undertake [the] effort” Plaintiffs propose would have

the “practical effect” of “controlling conduct beyond the boundaries of the state,” in violation of

the Constitution. See Healy, 491 U.S. at 336; see also Am. Booksellers Found. v. Dean, 342 F.3d



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96, 99, 104 (2d Cir. 2003) (Vermont law that “extended to internet communications” a “prohibition

against distributing to minors sexually explicit materials” constituted a “per se violation of the

dormant Commerce Clause” because the “practical effect” of Vermont’s effort to regulate online

conduct was to “project[] its legislation into other States, and directly regulated commerce therein”)

(internal quotation marks omitted and emphasis in original); PSINet, Inc. v. Chapman, 362 F.3d

227, 240 (4th Cir. 2004) (finding dormant Commerce Clause barred Virginia law regulating

publication of certain material online and noting that “[g]iven the broad reach of the Internet, it is

difficult to see how a blanket regulation of Internet material … can be construed to have only a

local effect.”).

        Plaintiffs’ reliance (Opp. 16) on Hirst v. Skywest, Inc., 910 F.3d 961 (7th Cir. 2018), for

the proposition that “[i]f businesses like Defendant want to collect biometric data from a

nationwide swath of individuals, they will have to learn to comply with different state privacy

regimes,” is misplaced. In Hirst, the plaintiff flight attendants from “ten different states” sued

their employer, Skywest, under the federal Fair Labor Standards Act (“FLSA”) and various state

and local minimum wage laws for failing to pay them for hours worked while not in the air. Id. at

964. The Court rejected Skywest’s argument that the application of inconsistent state and local

minimum wage laws to an airline operating in numerous states violated the dormant Commerce

Clause primarily because “the dormant Commerce Clause does not apply to state and local laws

expressly authorized by Congress,” and the “FLSA contains such an express authorization.” Id.

at 967 (emphasis added). The court further held that, since “[s]tate and local wage laws can burden

companies within their own localities just as much, if not more, than out-of-state ones, Skywest

“has failed to allege any discrimination against interstate commerce.” Id. Moreover, unlike

Skywest, which employed “flight attendants … based out of airports in ten different states,” id. at




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964, and thus could reasonably expect to be subject to those states’ minimum wage laws, Plaintiffs

here do not allege any relevant “in-state” conduct by IBM.

         Plaintiffs’ reliance (Opp. 17) on S. Dakota v. Wayfair, Inc., 138 S. Ct. 2080 (2018), is

misplaced for similar reasons. In S. Dakota, the Supreme Court overturned its prior precedent

holding that, under the dormant Commerce Clause, a state “may not require a business that has no

physical presence in the State to collect its sales tax,” and held that online retailers with no physical

presence or employees in a state could nevertheless be required to collect and remit sales tax for

sales of products or services within the state. Id. at 2084. Plaintiffs’ contention that S. Dakota

stands more broadly for the proposition that “states can regulate conduct that occurs entirely online

without offending the Dormant Commerce Clause” (Opp. 17), is baseless. The Court held no such

thing.

         C.     BIPA Does Not Apply To IBM’s Analysis Of Photos

         IBM demonstrated in its opening brief that Plaintiffs’ BIPA claims fail because: (1) BIPA’s

plain language expressly excludes photographs and “information derived from” photographs—

such as the facial measurements that Plaintiffs allege IBM took from photos that they posted online;

and (2) BIPA § 5 makes clear that the General Assembly intended the statute to prevent the public

from being “deterred from partaking in biometric-identifier-facilitated transactions,” which is not

applicable here. See Dkt. No. 36, at 14-15.

         Plaintiffs’ primary response is to again point to Rivera and Monroy and argue that this

Court should simply defer to the reasoning of the other courts that have examined this issue under

different allegations. Opp. 18. But interpretation and application of BIPA is fast-evolving and

new decisions illustrate the tension between and among courts in how to apply BIPA to unique

and nuanced fact patterns.       Indeed, although Plaintiffs ask this Court to follow Rivera’s

determination that BIPA applies to scans of photos of faces, Plaintiffs omit that, in Rivera, the


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court ultimately granted Google summary judgment and dismissed the BIPA claims on the basis

that the “creation of face templates” from photographs, even without the individual’s knowledge

or consent, was not a concrete injury for purposes of Article III standing. Rivera v. Google, Inc.,

366 F. Supp. 3d 998, 1010-11 (N.D. Ill. 2018). Plaintiffs no doubt disagree with the Rivera court’s

reasoning on that issue, and, indeed, the court’s reasoning recently was rejected by the Seventh

Circuit in Bryant, 2020 WL 2121463, *7. Thus, this Court should not simply accept the reasoning

of its sister courts regarding BIPA’s scope and application but should instead conduct an

independent analysis based on the facts alleged.

        Plaintiffs’ argument that IBM seeks a reading of BIPA that “would create an exception so

sweeping that it would swallow the rule,” is also without merit. Opp. 20. IBM was only able to

access Plaintiffs’ photos because Plaintiffs posted their photos publicly online. Plaintiffs and

others cannot claim a significant privacy interest in photos that they freely published to the Internet.

See e.g., Rasmusson v. Chisago County, 991 F. Supp. 2d 1065, 1078-79 (D. Minn. 2014) (granting

motion to dismiss claims for violation of common law privacy from information contained on an

individual’s driver’s license, including the license photo, because “there is a low expectation of

privacy in this type of information” and “because individuals show their driver’s licenses to

strangers on a daily basis.”).     BIPA thus appropriately excepts from its reach photos and

information that might be derived from photos. The court should not limit BIPA’s photo exception

in a way that would expand BIPA’s reach to circumstances that was never intended.

        Given the General Assembly’s clear intent to limit BIPA’s application to “biometric

identifier-facilitated transactions,” and not to “photographs” or “information derived from

[photographs],” the Court should decline to follow Rivera and Monroy and find that BIPA does

not apply to IBM’s scans of faces that appear in publicly available online photos.




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II.      PLAINTIFFS’ UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED

         IBM also demonstrated in its opening brief that Plaintiffs’ unjust enrichment claim should

be dismissed because it “rests on the same improper conduct alleged in another claim”—i.e.,

Plaintiffs’ BIPA claims—and therefore the claim “stand[s] or fall[s] with the related [BIPA]

claim[s].” Dkt. No. 36, at 17 (quoting Cleary v. Philip Morris Inc., 656 F.3d 511, 517 (7th Cir.

2011)). Plaintiffs do not dispute this—they argue that “Defendant was unjustly enriched when it

illegally [i.e., in violation of BIPA] obtained Plaintiffs’ biometrics and profited therefrom.” Opp.

21 (emphasis added). Thus, the parties are in agreement that, if the Court dismisses Plaintiffs’

BIPA claims, it should dismiss the unjust enrichment claim as well.

         Even if the Court does not dismiss the BIPA claims, it should still dismiss the unjust

enrichment claim for the independent reason that Plaintiffs do not allege that they suffered an

economic “expense.” Dkt. No. 36, at 17-18. In its opening brief, IBM noted that its research

revealed “no court in Illinois has ‘applied the doctrine of unjust enrichment outside the context of

an expense stemming from some tangible economic loss to a plaintiff.’” Id. at 18 (quoting

Cousineau v. Microsoft, 992 F. Supp. 2d 1116, 1130 (W.D. Wash. 2012) (quotation marks

omitted)). Plaintiffs apparently cannot identify such a case either, as their Opposition cites none.

Instead, Plaintiffs cite Bryant—a case that does not address unjust enrichment—for the irrelevant

proposition that a BIPA violation causes an “injury” sufficient to confer Article III standing.

Plaintiffs’ assertion that, in Bryant, the Seventh Circuit held that “violations of Section 15(b)

resulted in ... economic harm,” Opp. 21-22 (citing Bryant, 2020 WL 2121463, at *7), is incorrect.

Bryant noted the “judgment of Illinois’s General Assembly” that “economic harm … may result




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from” the dissemination of biometric information.3 2020 WL 212 1463, at *7 (emphasis added).

Plaintiffs do not allege that they suffered any “economic harm” here. Nor do they cite a single

case permitting an unjust enrichment claim to proceed in the absence of an economic “expense.”4

       Plaintiffs’ contention (Opp. 23-24) that there is “no requirement that [they] allege they had

a reasonable expectation for payment from [IBM]”—tacitly conceding that they have not alleged

such an expectation—is also incorrect. Courts in this district have consistently held that such a

requirement exists, and have not suggested that the requirement is limited to the unique factual

circumstances that Plaintiffs posit. See Sunny Handicraft v. Envision This!, LLC, 2015 WL 231108,

at*5 (N.D. Ill. Jan. 16, 2015); Motorola, Inc. v. Lemko Corp., 2010 WL 960348, at *5 (N.D. Ill.

Mar. 15, 2020); see also Rose v. Nat’l Collegiate Athletic Ass’n, 346 F. Supp. 3d 1212, 1229 (N.D.

Ill. 2018) (finding the same requirement exists under Indiana common law). Plaintiffs’ failure to

allege such an expectation is fatal to their unjust enrichment claim.5

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs’ SAC should be dismissed with prejudice.


3
  Plaintiffs reliance (Opp. 22) on Patel v. Facebook, Inc., 290 F. Supp. 3d 948, 954 (C.D. Cal.
2018), and Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186, ¶¶ 35-38, is similarly misplaced.
Neither of those cases addressed the requirements of an unjust enrichment claim.
4
  Indeed, in every case Plaintiffs cite in support of their argument that an economic expense is
unnecessary for unjust enrichment (Opp. 23 ), the plaintiff had, in fact, alleged an economic
expense. See, e.g., Moeller v. Am. Media, Inc., 235 F. Supp. 3d 868, 871 (E.D. Mich. 2017)
(plaintiffs alleged that defendants’ “unlawful disclosure of plaintiffs’ personal-reading information”
“made their [purchased] subscriptions less valuable”); Perlin v. Time Inc., 237 F. Supp. 3d 623,
643 (E.D. Mich. 2017) (holding plaintiff adequately pleaded unjust enrichment where she
conferred benefits on the defendant—and incurred a corresponding expense—in the form of
“subscription fees paid by Plaintiff”); Boelter v. Hearst Comm’ns, Inc., 269 F. Supp. 3d 172, 199
(S.D.N.Y. 2017) (defendant allegedly benefited from plaintiff’s “subscription fees”).
5
  Plaintiffs’ separate cause of action for injunctive relief also “fail[s] as it does not state a cause
of action.” Obi v. Chase Home Fin., LLC, 2012 WL 1802450, at *4 (N.D. Ill. May 15, 2012)
(dismissing injunctive relief claim because “it is apparent that injunctive relief is a remedy” and
“not a cause of action.”). Plaintiffs apparently do not dispute this as their brief does not address it.


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Dated: May 28, 2020                         Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       The undersigned attorney for Counsel for IBM hereby certifies that on May 28, 2020, the

foregoing was electronically filed with the U.S. District Court Clerk, Northern District of Illinois,

Eastern Division, by using the CM/ECF filing system, which will send a notice of electronic filing

to all CM/ECF participants.



                                                      /s/ Stephen A. Broome
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